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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

 In re:                               §               Case No. 22-60020
 INFOW, LLC.                          §               Chapter 11 (Subchapter V)
        Debtor.                       §
 ____________________________________ §
                                      §
 In re:                               §               Case No. 22-60021
 IWHEALTH, LLC                        §               Chapter 11 (Subchapter V)
        Debtor.                       §
 ____________________________________ §
                                      §
 In re:                               §               Case No. 22-60022
 PRISON PLANET TV, LLC                §               Chapter 11 (Subchapter V)
        Debtor.                       §
 ____________________________________ §               JOINTLY ADMINISTERED

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

       PLEASE TAKE NOTICE that, SHELBY A. JORDAN appears on behalf of an interested

party (“party-in-interest”), in the above Bankruptcy and pursuant to Bankruptcy Rules 2002, 3017

and 9010, requests that all notices given, or required to be given in this case, and all papers served,

or required to be served in this case, be given to and served upon the undersigned at the office,

address and telephone number set forth below:

                                         Shelby A. Jordan
                                       State Bar # 11016700
                                      JORDAN & ORTIZ, P.C.
                                500 North Shoreline Blvd, Suite 900
                                    Corpus Christi, Texas 78401
                                    Telephone: (361) 884-5678
                                    Facsimile: (361) 888-5555
                                   Email: sjordan@jhwclaw.com
                                 Copy to: cmadden@jhwclaw.com

       PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rule 2002 and 9007,

and all applicable local rules of the Bankruptcy Court, the foregoing request includes, without

limitation, all notices of orders, applications, complains, demands, objections, hearings, motions,


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petitions, orders, pleadings or requests and any other documents brought before the Bankruptcy

Court in this case, whether formal or informal, written or oral, and whether transmitted or conveyed

by mail, delivery, telephone, facsimile or otherwise.

Dated: April 18, 2022

                                                        Respectfully submitted,

                                                        /s/ Shelby A. Jordan
                                                        SHELBY A. JORDAN
                                                        State Bar No. 11016700
                                                        S.D. No. 2195
                                                        ANTONIO ORTIZ
                                                        State Bar No. 24074839
                                                        S.D. No. 1127322
                                                        Jordan & Ortiz, P.C.
                                                        500 North Shoreline Blvd., Suite 900
                                                        Corpus Christi, TX 78401
                                                        Telephone: (361) 884-5678
                                                        Facsimile: (361) 888-5555
                                                        Email: sjordan@jhwclaw.com
                                                                aortiz@jhwclaw.com
                                                        Copy to: cmadden@jhwclaw.com
                                                        COUNSEL FOR INTERESTED PARTY




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                                CERTIFICATE OF SERVICE

The undersigned counsel certifies that notice of the filing of this document has been served on the
below named parties by available knowledge by the Court’s CM/ECF system on April 18, 2022.

                                              /s/ Shelby A. Jordan
                                                  Shelby A. Jordan




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